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Attomeys for Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

PETER CASTLEMAN and SLOANE Case No.: 3:21-cv-00523-MMD-CLB
CASTLEMAN, individually and as husband
and wife

PLAINTIFF’S MOTION FOR LEAVE TO
Plaintiffs, FILE UNDER SEAL

Vs.

ELLEN CONDREN CROWLEY,

 

Defendant.

 

Plaintiffs seek an order sealing Exhibit 1 to Peter Castleman’s Declaration in
Support of Motion for Preliminary Injunction and Exhibit 1 to Mr. Brust’s Declaration in
Support of Motion for Preliminary Injunction. Exhibit 1 to Mr. Castleman’s declaration
contains numerous emails from Defendant to Mr. Castleman threatening to publish false
and salacious stories about Plaintiffs. Exhibit 1 to Mr. Brust’s declaration contains an
email from Defendant to Mr. Brust and Plaintiffs’ other counsel, and contains similar
salacious allegations. Preventing publication of the stories contained in the emails is the
exact subject and the preliminary injunction, and this entire case in general. Plaintiffs
believe that once the Court reviews the emails (which are submitted, but not filed
herewith), the Court will recognize the necessity to seal the emails.

This motion is based on the points and authorities set forth below, the pleadings

 
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on file in this matter, and any other information/documents the Court wishes to consider.
MEMORANDUM OF POINTS AND AUTHORITIES

Plaintiffs recognize the presumption in favor of access to court records. However,
because every court has inherent, supervisory power over its own records and files,
access may be denied where the court recognizes that court-filed documents may be
used for improper purposes, such to gratify public spite or promote public scandal. Nixon
v. Warner Communications, Inc., 435 US 589, 598, 98 S.Ct. 1306, 1312; Hagestad v.
Tragesser 49 F3d 1430; 1433-1434 (9! Cir. 1995).

To limit access to judicial records, a party seeking to seal judicial records must
articulate compelling reasons to justify non-disclosure, such as to prevent use of the
record to gratify spite, permit public scandal, or release libelous statements. Kamakana
v. City of Honolulu, 447 F.3d 1172, 1179 (9" Cir. 2006). Here, the documents for which
Plaintiffs seek protection fall squarely in this category.

Plaintiffs can demonstrate disclosure of Defendant’s threatening emails will result
in serious injury. Mr. Castleman’s business is largely dependent on his reputation.
Further, the Castlemans reputations will be irreparably harmed if the false allegations
contained in Defendant’s threatening emails are publicly exposed. Plaintiffs submit
herewith, directly to the Court without filing, what would be Exhibit 1 to Mr. Castleman’s
declaration and Mr. Brust’s declaration. As the Court will see, the allegations and threats
contained in the emails are false and salacious. The damage they will cause Plaintiffs is
self-evident. Publication of the emails, even through unsealed public filings with this
Court, will expose Plaintiffs to significant reputational harm. On the other hand,
Defendant will not be harmed in any way by having her threatening emails sealed in this

matter.

 
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For the foregoing reasons, Plaintiffs respectfully request leave to file Exhibit 1 to
Mr. Castleman’s Declaration in Support of Motion for Preliminary Injunction and Exhibit 1

to Mr. Brust’s Declaration in Support of Motion for Preliminary Injunction under seal.

AFFIRMATION
Pursuant to NRS 239B.030

The undersigned does hereby affirm that this document does not contain the

Social Security Number of any person.
DATED this _23 day of March, 2022.

ROBISON, SHARP, SULLIVAN & BRUST
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71 Washington Street

Reno, Nevada 89503

BY: __/s/ Clayton P. Brust
CLAYTON P. BRUST, ESQ.
BRETT W. PILLING, ESQ.
Attorneys for Plaintiffs

 
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CERTIFICATE OF SERVICE

Pursuant to FRCP 5, | certify that | am an employee of ROBISON, SHARP, SULLIVAN &
BRUST, and that on this date | caused a true copy of the PLAINTIFF’S MOTION FOR
LEAVE TO FILE UNDER SEAL to be served on all parties to this action by:

Xx placing an original or true copy thereof in a sealed, postage
prepaid, envelope in the United States mail at Reno, Nevada.

 

personal delivery/hand delivery

X emailing an attached Adobe Acrobat PDF version of the document to the
email addresses below/facsimile (fax) and/or E-Filing pursuant to Section
IV of the District of Nevada Electronic Filing Procedures

 

Federal Express/UPS or other overnight delivery

Messenger Service

Ellen Condren

124 Bell Tower Court
Chagrin Falls, OH 44022
ellencondren@gmail.com

Dated this 23 day of March, 2022.

/s/ Isabella Esquerra
Employee of Robison, Sharp, Sullivan & Brust

 

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